         Case 1:21-cr-00054-MHC-CMS Document 22 Filed 02/09/21 Page 1 of 13
                                                                          FILED IN CHAMBERS
                                                                             U.S.D.C. Atlanta
Im^l^llanl I ! HIT.SB


                                                                              FEB 09 2021
                                                                       JAMES. N^ HAJTgN, Cl^-k
                                                                       By:<^^^^tycierk
                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION


         UNITED STATES OF AMERICA

                  V.                             Criminal Indictment

         PETER OLUWATOBI OLUDELE/                No. l 21 "'OS " 05
         ALLWELL JOHN IBAMA/
         UZOAMAKA J. UGWU


     THE GRAND JURY CHARGES THAT:

                                        Count One

         1. Beginning on or about April 30,2020 and continuing through on or about

     December 14,2020, in the Northern District of Georgia and elsewhere/

     defendants)/ PETER OLUWATOBI OLUDELE (//OLUDELE//)/ ALLWELL JOHN

     IBAMA (//IBAMA//) and UZOAMAKAJ. UGWU (//UGWU//), did knowingly and

     willfully combine/ conspire/ confederate/ agree and have a tacit understanding

     with each other/ and others known and unknown to the Grand Jury/ to devise a

     scheme and artifice to defraud and to obtain money and property by means of

    materially false and fraudulent pretenses/ representations and promises/ and for

    the purpose of executing such scheme and artifice/ to transmit and cause to be

    transmitted/ by means of wire communication in interstate and foreign

    commerce/ writings/ signs/ signals/ pictures/ and sounds/ in violation Title 18,

    United States Code/ Section 1343.
   Case 1:21-cr-00054-MHC-CMS Document 22 Filed 02/09/21 Page 2 of 13




                                   BACKGROUND

   At all times relevant to this indictment:

   U.S. Department of Labor, Employment and Training Admmisbration

   2. The U.S. Department of Labor/ Employment and Training Admmisteation is

the federal agency that provides oversight in the Federal-State Unemployment

Insurance Program/ which provides unemployment benefits to eligible workers

who are unemployed through no fault of their own as determined under state

law and who meet other state eligibility requirements. Unemployment Insurance

( UI ) payments/ also known as benefits/ are intended to provide temporary

financial assistance.

   3. Eligibility for unemployment insurance/ benefit amounts/ and the length of

time benefits are available are determined by the state law under which

unemployment insurance claims are established. In general/ benefits are based

upon a percentage of an individuaFs earnings over a recent 52-week period - up

to a state-established maximum amount. Benefits can be paid for a maximum of

26 weeks in most states.

   Illinois Department of Employment Security

   4. The Illinois Department of Employment Security (//IDES//) is the state

agency that oversees the UI program in the State of Illinois. Through this agency/

UI benefits may be issued to Illinois residents who are unemployed because of a

nationwide pandemic/ such as the COVID-19 pandemic.

   5. In general/ a person seeking UI benefits through the FDES must complete an

online application that includes, among other things/ the Claimant s name/ date
   Case 1:21-cr-00054-MHC-CMS Document 22 Filed 02/09/21 Page 3 of 13




of birth/ social security number/ and the reason why the Claimant is

unemployed.

   6. In the State of Illinois/ a Claimant who is eligible to receive benefits can opt

to receive payments by direct deposit or debit card. The benefit payments are

typically deposited into the Claimant's specified bank account within two

business days after the Claimant certifies for benefits. Claimants will

automatically receive their unemployment insurance benefits by debit card

unless they register for direct deposit. The card will be mailed to the Claimant/

and the benefit payment amount wiU be downloaded onto the card

approximately two business days after the Claimant certifies for benefits with

IDES. The card is administered jointly by a major bank card issuer and IDES.

   Ohio Departaient of Tob and Family Services

   7. The Ohio Department of Job and Family Services (//ODJFS//) is the state

agency that oversees the UI program in the State of Ohio. Through this agency/

UI benefits may be issued to Ohio residents who are unemployed because of a

nationwide pandemic/ such as the COVID-19 pandemic.

   8. In general/ a person filing a UI claim can do so online or by telephone. The

application includes/ among other things/ the Claimant's name/ date of birth/

social security number/ and the reason why the Claimant is unemployed.

   9. In the State of Ohio/ ODJFS offers two methods of payment for

unemployment benefits. When a Claimant files his or her application/ the

Claimant can choose to have benefits paid by direct deposit or by debit card. For

direct deposit/ the Claimant must provide his or her bank s name/ complete
  Case 1:21-cr-00054-MHC-CMS Document 22 Filed 02/09/21 Page 4 of 13




address/ account type/ routing number and account number. If a Claimant does

not select direct deposit/ the Claimant will be paid by a U.S. Bank ReliaCard Visa

debit card.

   Massachusetts Department of Unemployment Assistance

   10. The Massachusetts Department of Unemployment Assistance

(//MADUA//) is the state agency that oversees the UI program in the State of

Massachusetts. Through this agency/ UI benefits may be issued to Massachusetts

residents who are unemployed because of a nationwide pandemic, such as the

COVID-19 pandemic.

   11. In general/ a person filing a UI claim can do so online or by telephone. The

application includes/ among other things/ the Claimant's name/ date of birth/

social security number/ and the reason why the Claimant is unemployed.

   12. In the State of Massachusetts/ MADUA offers two methods of payment for

unemployment benefits. The Claimant can choose to have benefits paid by direct

deposit or by debit card. For direct deposit/ the Claimant must provide his or her

social security number/ the routing number/ and the bank account number. If a

Claimant does not select direct deposit/ the Claimant will be paid by a MADUA

Debit MasterCard.

   The Employment Security Department of Washington State

   13. The Employment Security Deparbmient of Washington State (//ESDWA//) is

the state agency that oversees the Unemployment Insurance program in

Washington State. Through this agency/ unemployment benefits may be issued
  Case 1:21-cr-00054-MHC-CMS Document 22 Filed 02/09/21 Page 5 of 13




to Washington residents who are unemployed because of a nationwide

pandemic/ such as the COVID-19 pandemic.

   14. In general/ a person seeking unemployment benefits through the ESDWA

must complete an online application that includes/ among other things/ the

Claimants name/ date of birth/ social security number/ and the reason why the

Claimant is unemployed.

   15. In Washington/ unemployment compensation funds are issued in the form

of a direct deposit into the Claimants designated bank account or the issuance of

a pre-paid debit card account.

   The CARES Act

   16. On March 27,2020, the President signed into law the Coronavirus Aid/

Relief/ and Economic Security (//CARES//) Act. This legislation provides

emergency assistance and health care response for individuals/ families/ and

businesses affected by the COVID-19 pandemic.

   17. Section 2102 of the CARES Act creates a new temporary federal program

called Pandemic Unemployment Assistance (//PUA//) that provides up to 39

weeks of unemployment benefits and funding to states for the administration of

the program. An individual receiving PUA benefits may also receive a $600

weekly benefit in federal funds under the Federal Pandemic Unemployment

Compensation ( FPUC ) program if he or she is eligible for such compensation

for the week claimed.

   18. The CARES Act was designed to mitigate the economic effects of the

COVTO-19 pandemic in a variety of ways. The CARES Act includes a provision
   Case 1:21-cr-00054-MHC-CMS Document 22 Filed 02/09/21 Page 6 of 13




of temporary benefits for individuals who have exhausted their entitlement to

regular UI payments/ as well as coverage for individuals who are not eligible for

regular UI payments and are self-employed or have limited recent work history.

These individuals may also include certain gig economy workers/ clergy and

those working for religious organizations who are not covered by regular UI

benefits/ and other workers who may not be covered by the regular UI program

under some state laws.

                    SCHEME AND ARTIFICE TO DEFRAUD

   19. It was part of the scheme that co-conspirators electronically submitted to

IDES/ MADUA/ ODJFS/ and ESDWA applications for UI benefits and PUA

payments that fraudulently listed the name/ date of birth and social security

number for persons without their knowledge and consent.

   20. It was part of the scheme that/ on or about April 30,2020 and May 12,

2020, defendant UGWU electronically provided to defendant OLUDELE

the bank account number and information for Bank of America bank

account ending in 0449. On or about May 19,2020, defendant IBAMA

electronically provided to defendant OLUDELE the bank account

number and information for Wells Fargo bank account number ending

in 9088. Defendant OLUDELE electronically provided the bank account

information to other co-conspirators who submitted the account information to

state agencies for the direct deposit of UI benefits and PUA payments.

   21. It was part of the scheme for defendant UGWU and defendant IBAMA

to advise defendant OLUDELE when funds were deposited into the
   Case 1:21-cr-00054-MHC-CMS Document 22 Filed 02/09/21 Page 7 of 13




bank accounts. On some occasions/ the conspirators electronically sent

to defendant OLUDELE images depicting a bank website that displayed

the deposit of UI and PUA funds.

   22. It was part of the scheme for co-conspirators to withdraw UI benefits and

PUA payments from the bank accounts by making ATM cash withdrawals and

transferring funds into other accounts/ among other things.

   23. It was also part of the scheme that co-conspirators provided Green Dot

debit card account numbers to the state agencies for the direct deposit of UI

benefits and PUA funds.

   24. It was part of the scheme that co-consptrators/ including defendants

OLUDELE and IBAMA/ obtained Green Dot debit cards containing UI and PUA

funds. The co-conspirators withdrew and caused to be withdrawn UI and PUA

funds from those cards by making cash withdrawals from ATMs and making

various purchases/ among other things.

AU in violation of Title 18, United States Code/ Section 1349.

                           Counts Two through Eleven

   25. The Grand Jury re-alleges and incorporates by reference the factual

allegations contained in paragraphs 2 through 24 of this Indictment as if fully set

forth herein.

   26. On or about the dates below/ in the Northern District of Georgia and

elsewhere/ the defendants/ PETER OLUWATOBI OLUDELE/ ALLWELL JOHN

IBAMA and UZOAMAKA J. UGWU/ aided and abetted by each other and

others known and unknown to the Grand Jury/ with the intent to defraud/


                                         7
  Case 1:21-cr-00054-MHC-CMS Document 22 Filed 02/09/21 Page 8 of 13




knowingly devised and intended to devise a scheme and artifice to defraud/ and

to obtain money and property by means of materially false and fraudulent

pretenses/ representations/ and promises/ and by omission of material facts/ well

knowing and having reason to know that said pretenses were and would be false

and fraudulent when made and caused to made and that said omissions were

and would be material/ and/ in so doing/ caused to be transmitted by means of

"wire communication in interstate and foreign commerce the writings/ signs/

signals/ pictures/ and sounds described below:



   Count            Date                         Description of Wire
               (On or About)
                                Defendant UGWU sent an electronic
    Two         April 30 2020   communication to defendant OLUDELE that
                                contained the routing number and bank account
                                number for Bank of America bank account
                                ending in 0449, opened in Lawrenceville/
                                Georgia.
                                Defendant OLUDELE sent an electronic
   Three        May 4/2020      communication to a co-conspirator that contained
                                the routing number and bank account number
                                for Bank of America account ending in 0449.
                                Defendant IBAMA sent an electronic
    Four        May 19,2020     communication to defendant OLUDELE that
                                contained the routing number and bank account
                                number for Wells Fargo bank account ending in
                                9088 opened in Richmond/ Texas.
                                Defendant OLUDELE sent an electronic
    Five        May 19,2020     communication to a co-conspirator that contained
                                the routing number and bank account number
                                for WeUs Fargo account ending in 9088.




                                        8
   Case 1:21-cr-00054-MHC-CMS Document 22 Filed 02/09/21 Page 9 of 13




                                  MADUA deposited CARES Act funds in the
      Sbc        May 20,2020      name of T. C. into Bank of America bank account
                                  ending in 0449 totaling $13/180.
                                  Defendant OLUDELE sent an electronic
    Seven        May 21,2020      communication to IBAMA advising that "9095"
                                  was going into the account.
                                  Defendant IBAMA sent an electronic
    Eight        May 21,2020      communication to defendant OLUDELE that
                                  contained an image showing the deposit
                                  Unemployment Compensation funds in the name
                                  of D. R. into Wells Far go bank account ending in
                                  9088 totaling $9/095.
     Nine        May 22,2020      ESDWA deposited unemployment benefits in the
                                  name of C. H. into Bank of America bank account
                                  ending in 0449 totaling $1/390.
     Ten         May 22,2020      ESDWA deposited unemployment benefits in the
                                  name of K. F. into Bank of America bank account
                                  ending in 0449 totaling $1/210.
   Eleven        May 22,2020      IBAMA sent an electronic communication to
                                  OLUDELE advising that MADUA deposited
                                  Cares Act funds into Wells Fargo bank account
                                  ending in 9088 totaling $12/732.

In violation of Title 18, United States Code/ Section 1343 and Section 2.


                                   Count Twelve

   27. The Grand Jury re-alleges and incorporates by reference the factual

allegations contained in paragraphs 2 through 24 of this Indicfanent as if fully set

forth herein.

   28. Beginning on or about April 30,2020 and continuing through on or about

December 14,2020, in the Northern District of Georgia and elsewhere/

defendants)/ PETER OLUWATOBI OLUDELE/ ALLWELL JOHN IBAMA and

UZOAMAKA J. UGWU/ did knowingly combine/ conspire, and agree with each
  Case 1:21-cr-00054-MHC-CMS Document 22 Filed 02/09/21 Page 10 of 13




other and with other persons known and uriknown to the Grand Jury/ to conduct

and attempt to conduct financial transactions affecting interstate commerce and

foreign commerce/ which transactions involved the proceeds of specified

unlawful activity/ that is/ Wire Fraud/ knowing that the transactions were

designed in whole or in part to conceal and disguise the nature/ location/ source/

ownership/ and control of the proceeds of specified unlawful activity/ and that

while conducting and attempting to conduct such financial transactions/ knew

that the property involved in the financial transactions represented the proceeds

of some form of unlawful activity/ in violation of Title 18, United States Code/

Section 1956(a)(l)(B)(i); all in violation of Title 18, United States Code/ Section

1956(h).

                        Counts Thirteen through Eighteen

   29. The Grand Jury re-alleges and incorporates by reference the factual

allegations contained in paragraphs 2 through 24 of this Indictment as if fully set

forth herein.

   30. On or about the dates listed below/ in the Northern District of Georgia and

elsewhere/ defendants)/ PETER OLUWATOBI OLUDELE/ aided and abetted by

others unknown to the Grand Jury/ knowingly transferred/ possessed and used/

without lawful authority/ a means of identification of another person/ that is/ the

name/ date of birth and social security number for the actual person listed below/

during and in relation to a Conspiracy to Commit Wire Fraud as charged in

Count One of this Indictment:




                                          10
  Case 1:21-cr-00054-MHC-CMS Document 22 Filed 02/09/21 Page 11 of 13




                 Date Application for
                     UJ/PUA Benefits
                                            Name listed on          State Agency
    Count              Electronically
                                           the Application      Receiving Application
                     Submitted to State
                          Agency
                                                                The Massachusetts
                                                                Department of
                                                  T.C.
   Thirteen            May 16, 2020                             Unemployment
                                                                Assistance
                                                                The Massachusetts
                                                                Department of
                                                  S.P.
   Fourteen            May 19,2020                              Unemployment
                                                                Assistance
                                                                The Ohio Department
                       June 17, 2020             H.P.           of Job and Family
    Fifteen
                                                                Services

                                                                Illinois Department of
                        July 5,2020              E.G.
   Sixteen                                                      Employment Security

                                                                Illinois Department of
  Seventeen             July 5,2020               E.L.
                                                                Employment Security
                                                                lUinois Department of
   Eighteen             July 6, 2020             M.T.
                                                                Employment Security

m violation of Title 18, United States Code/ Section 1028A and Section 2.

                                       FORFEITURE

   31. Upon conviction of one or more of the offenses alleged in Counts One

through Eleven of this Indictment/ defendants/ PETER OLUWATOBI OLUDELE/

ALLWELL JOHN IBAMA and UZOAMAKA J. UGWU/ shall forfeit to the

United States of America/ pursuant to Title 18, United States Code/ Section

982(a)(2)(A)/ any property constituting/ or derived from/ proceeds obtained/

directly or indirectly/ as the result of said violation(s)/ including/ but not limited

to/ the following:

                                          11
  Case 1:21-cr-00054-MHC-CMS Document 22 Filed 02/09/21 Page 12 of 13




          MONEY JUDGMENT: A sum of money in United States currency/

          representing the amount of proceeds obtained as a result of the offenses

          alleged in Counts One through Eleven of this Indictment.

   32. Upon conviction of Count Twelve of this Indictment, the defendants/

PETER OLUWATOBI OLUDELE/ ALLWELL JOHN EBAMA and UZOAMAKA

J. UGWU/ shall forfeit to the United States of America/ pursuant to Title 18,

United States Code/ Section 982(a)(l)/ any property/ real or personal/ involved in

such offense/ or any property traceable to such property/ including/ but not

limited to/ the following:

          MONEY JUDGMENT: A sum of money in United States currency/

          representing the amount of proceeds obtained as a result of the offenses

          alleged in Count Twelve of this Indictment.

   33. If/ as a result of any act or omission of the defendants/ any property

subject to forfeiture:

      a. cannot be located upon the exercise of due diligence;

      b. has been transferred or sold to/ or deposited with/ a third party;

      c. has been placed beyond the jurisdiction of the court;

      d. has been substantially diminished in value; or

      e. has been commmgled 'with other property "which cannot be divided

          without difficulty;

it is the intent of the United States/ pursuant to Title 21, United States Code/

Section 853(p)/ as incorporated by Title 18, United States Code/ Section 982(b)/ to




                                          12
  Case 1:21-cr-00054-MHC-CMS Document 22 Filed 02/09/21 Page 13 of 13




seek forfeiture of any other property of the defendants up to the value of the

forfeitable property.



                                         A                                   BILL



                                                  -^ FORdPER^ON
KURT R. ERSKINE
 Acting United States Attorney



    hdcw ^'(•'C.. -.^C/^w

TRACIA M. KING
  Assistant United States Attorney
Georgia Bar No. 421380


600 U.S. Courthouse
75 Ted Turner Drive SW
Atlanta/ GA 30303
404-581-6000; Fax: 404-581-6181




                                        13
